      Case 23-60775-TJ23            Doc 7 Filed 11/02/23 Entered 11/02/23 14:54:25                     Desc Order
                                       Unpaid Fees Petition Page 1 of 1
                                      UNITED STATES BANKRUPTCY COURT
                                           Northern District of Georgia
                                                Atlanta Division


In     Debtor(s)
Re:    Tawanna Savage                                         Case No.: 23−60775−TJ23
                                                              Chapter: 13


                       ORDER REGARDING UNPAID FILING FEES
       The Debtor(s) filed a voluntary petition on November 1, 2023. The amount needed to pay the filing fee in full
is $313.00. Accordingly,

IT IS ORDERED that by November 13, 2023, the Debtor(s) shall

   pay the fee in full, the balance due being $313.00

For payments by mail, remit using cashier's check, money order or attorney's check made payable to "Clerk,
United States Bankruptcy Court" to the address listed below:

                                              United States Bankruptcy Court
                                               1340 Richard Russell Building
                                                 75 Ted Turner Drive, SW
                                                    Atlanta, GA 30303

For payments made by hand delivery to a divisional office in Atlanta, Gainesville, Newnan or Rome, note that
cash is not accepted. You must remit using cashier's check, money order or attorney's check.

Payments may also be made online at: https://www.ganb.uscourts.gov/online−payments


If, by the date(s) set forth above, i) the filing fee is not paid in accordance with this Order; ii) no request for an
extension of time is pending; or iii) neither the debtor nor any party of interest has requested a hearing thereon, the
Court may dismiss this case without further notice or hearing.

The Clerk will serve this Order on Debtor, Debtor's Counsel, and Trustee.

SO ORDERED, on November 2, 2023.




Form 436 Order Regarding Unpaid Filing Fees                               TJ23
Revised January 2022                                                      United States Bankruptcy Judge
